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Signed: March 03, 2009

SO ORDERED




                                 THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                            Baltimore Division

        In re:                                                     *      (Chapter 11)

        LUMINENT MORTGAGE CAPITAL, INC.,                           *      Case No. 08-21389-DK
        LUMINENT CAPITAL MANAGEMENT, INC.,                                Case No. 08-21390-DK
        MAIA MORTGAGE FINANCE STATUTORY                            *
         TRUST,                                                           Case No. 08-21391-DK
        MERCURY MORTGAGE FINANCE                                   *
         STATUTORY TRUST,                                                 Case No. 08-21392-DK
        MINERVA CDO DELAWARE SPV LLC,                              *      Case No. 08-21393-DK
        MINERVA MORTGAGE FINANCE
         CORPORATION,                                              *      Case No. 08-21394-DK
        OT REALTY TRUST,                                                  Case No. 08-21395-DK
        PANTHEON HOLDING COMPANY, INC.,                            *      Case No. 08-21396-DK
        PROSERPINE, LLC,                                                  Case No. 08-21397-DK
        SATURN PORTFOLIO MANAGEMENT, INC.,                         *      Case No. 08-21398-DK

                                  Debtors.                         *      (Jointly Administered Under
                                                                          Case No. 08-21389-DK)

        *        *        *       *     *     *      *      *      *      *      *       *      *

                        ORDER PURSUANT TO SECTION 1121(d) OF THE
               BANKRUPTCY CODE EXTENDING THE DEBTORS’ EXCLUSIVE PERIOD
                TO SOLICIT ACCEPTANCES OF THEIR PLAN OF REORGANIZATION

                 Upon consideration of the motion (the “Motion”) of Luminent Mortgage Capital, Inc.,

        Luminent Capital Management, Inc., Maia Mortgage Finance Statutory Trust, Mercury Mortgage

        Finance Statutory Trust, Minerva CDO Delaware SPV LLC, Minerva Mortgage Finance

        Corporation, OT Realty Trust, Pantheon Holding Company, Inc., Prosperine, LLC, and Saturn
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Portfolio Management, Inc. (collectively, the “Debtors”), Debtors and Debtors-in-Possession, for

entry of an order extending their exclusive period to solicit acceptances (the “Exclusive

Solicitation Period”) of their amended chapter 11 plan [Docket No. 363] (as it may be amended,

the “Amended Chapter 11 Plan”) from March 4, 2009 through and including July 2, 2009; and

the Court finding that: (i) no other or further notice of the Motion need be provided; (ii) it has

jurisdiction to consider the Motion and the relief requested therein in accordance with 28 U.S.C.

§ 1334; (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iv) venue of these cases

and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and (v) granting the relief

requested in the Motion is in the best interests of the Debtors, their estates, creditors and all

parties in interest; and due consideration having been given to the responses, if any, to the

Motion; and good and sufficient cause having been shown thereof,

       IT IS HEREBY, by the United States Bankruptcy Court for the District of Maryland:

       ORDERED that the Exclusive Solicitation Period is extended through and including July

2, 2009 for the Debtors; and it is further

       ORDERED that the relief granted in this Order is without prejudice to the Debtors’

rights to seek further extensions of the Exclusive Solicitation Period; and it is further

       ORDERED that the Court shall retain jurisdiction over any and all disputes arising or

otherwise relating to the interpretation, performance and enforcement of the terms and provisions

of this Order.

Copies to:

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                                      - END OF ORDER-




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